     Case 4:19-cv-07123-PJH        Document 410-1    Filed 10/02/24    Page 1 of 2




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 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                      OAKLAND DIVISION
11
      WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
12    and FACEBOOK, INC., a Delaware
      corporation,                                  DECLARATION OF AARON S. CRAIG
13                                                  IN SUPPORT OF DEFENDANTS NSO
                   Plaintiffs,                      GROUP TECHNOLOGIES LIMITED
14                                                  AND Q CYBER TECHNOLOGIES
            v.                                      LIMITED’S ADMINISTRATIVE
15                                                  MOTION TO CONSIDER WHETHER
      NSO GROUP TECHNOLOGIES LIMITED                ANOTHER PARTY’S MATERIAL
16    and Q CYBER TECHNOLOGIES LIMITED,             SHOULD BE SEALED
17                 Defendants.
                                                    Action Filed: 10/29/2019
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      DECLARATION OF AARON S. CRAIG                                     Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH           Document 410-1          Filed 10/02/24    Page 2 of 2




 1           I, Aaron S. Craig, declare as follows:
 2           1.        I am a member of the California State Bar and the bar of this court. I am a partner

 3    in the law firm of King & Spalding LLP and counsel to NSO Group Technologies Limited and Q

 4    Cyber Technologies Limited (collectively “NSO” or “Defendants”) in this action. I have personal

 5    knowledge of the facts set forth herein and, except as otherwise stated, could testify competently

 6    to each fact herein.

 7           2.        I submit this declaration pursuant to Northern District of California Local Rule 79-

 8    5(f) in support of Defendants’ Administrative Motion to Consider Whether Another Party’s

 9    Material Should Be Sealed filed concurrently herewith.

10           3.        Attached hereto as Exhibits 1-6 are Exhibits 1-6 to the parties’ Joint Letter Brief

11    Regarding Defendants’ Request for Sanctions that Plaintiffs WhatsApp LLC, f/k/a WhatsApp Inc.

12    (“WhatsApp”), and Meta Platforms, Inc., f/k/a Facebook, Inc. (“Facebook” and, collectively,

13    “Plaintiffs”) have designated as “Highly Confidential - Attorney’s Eyes Only” under the Stipulated

14    Protective Order (Dkt. No. 132) or that are otherwise required at this time to be treated as though

15    so designated.

16           4.        Defendants take no position as to whether these materials or information derived

17    from these materials satisfy the requirements for sealing. They reserve the right to challenge any

18    confidentiality designations and to oppose any statement by Plaintiffs in accordance with Civil

19    Local Rule 79-5(f)(4).

20           I declare under penalty of perjury that the foregoing is true and correct. Executed this 2nd

21    day of October 2024, at Los Angeles, California.

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                                                /s/ Aaron Craig
23                                             AARON S. CRAIG
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       DECLARATION OF AARON S. CRAIG                      1                     Case No. 4:19-cv-07123-PJH
